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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

DAVID ROBERTS,                                   )
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )       No. 6:16-cv-00170-PGB-GJK
                                                 )
NAVIENT SOLUTIONS, INC. f/k/a                    )
SALLIE MAE, INC,                                 )
                                                 )
       Defendant.                                )

                                  NOTICE OF SETTLEMENT

       Plaintiff, DAVID ROBERTS, (“Plaintiff”), through his attorney, HORMOZDI LAW

FIRM, LLC, informs this Honorable Court that the Parties have reached a settlement in this case.

Plaintiff anticipates dismissing this case, with prejudice, within 30 days.


                                              RESPECTFULLY SUBMITTED,

June 15, 2016                         By:_/s/Shireen Hormozdi ______________
                                             Shireen Hormozdi
                                             Hormozdi Law Firm, LLC
                                             1770 Indian Trail Lilburn Road, Suite 175
                                             Norcross, GA 30093
                                             Tel: 678-395-7795
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                                             Attorney for Plaintiff


                               CERTIFICATE OF SERVICE

        On June 15, 2016, I electronically filed the Notice of Settlement with the Clerk of the U.S.
District Court, using the CM/ECF system. I e-mailed a copy of the filed Notice of Settlement to
Defense counsel, David Yellin, at dyellin@ifrahlaw.com

                                      By:_/s/Jackie Laino ______________
                                             Jackie Laino
